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 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
11   WAYMO LLC,                                           Case No.      3:17-cv-00939-WHA
12                         Plaintiff,                     [PROPOSED] ORDER GRANTING
                                                          DEFENDANTS UBER
13          v.                                            TECHNOLOGIES, INC. AND
                                                          OTTOMOTTO LLC’S
14   UBER TECHNOLOGIES, INC.,                             ADMINISTRATIVE MOTION TO
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                    FILE DOCUMENTS UNDER SEAL
15
                           Defendants.
16                                                        Trial Date: October 2, 2017
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     [PROPOSED] ORDER GRANTING DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
     sf-3767062
     Case 3:17-cv-00939-WHA Document 409-2 Filed 05/09/17 Page 2 of 2



 1
            Upon consideration of Defendants Uber Technologies, Inc., Ottomotto LLC, and Otto
 2
     Trucking LLC’s (“Defendants”) Administrative Motion to File Documents Under Seal, and
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     finding that good cause exists, this Court hereby GRANTS Defendants’ Administrative Motion to
 4
     File Documents Under Seal and ORDERS that the following documents shall be sealed, as
 5
     indicated below:
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 7
     Title of Document                                           Portions to Be Filed Under Seal
 8
     Defendants’ Response to Waymo’s Supplemental                      Highlighted Portions
 9   Brief Regarding Haslim Testimony

10   Exhibit 1 to the Declaration of Michelle Yang in                  Highlighted Portions
     Support of Defendants’ Response to Waymo’s
11   Supplemental Brief Regarding Haslim Testimony
12   (“Yang Declaration”)

13   Exhibit 2 to the Yang Declaration                                 Highlighted Portions

14   Exhibit 3 to the Yang Declaration                                 Highlighted Portions
15   Exhibit 4 to the Yang Declaration                                        Entirety
16   Exhibit 5 to the Yang Declaration                                 Highlighted Portions
17
     Exhibit 6 to the Yang Declaration                                        Entirety
18

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            IT IS SO ORDERED.
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     Dated: _____________, 2017
23                                               HONORABLE WILLIAM ALSUP
                                                 United States District Court Judge
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     [PROPOSED] ORDER GRANTING DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
                                                                                                     1
     sf-3767062
